831 F.2d 1063
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Mary Ann BRUNN, Plaintiff-Appellant,v.CITY OF CLEVELAND, Ernest Cedroni, Commissioner, Division ofWater and Heat, in His Official Capacity asCommissioner and Individually,Defendants-Appellees.
    No. 87-3144.
    United States Court of Appeals, Sixth Circuit.
    Oct. 26, 1987.
    
      Before NATHANIEL R. JONES and BOGGS, Circuit Judges, and JOHN W. PECK, Senior Circuit Judge.
    
    ORDER
    
      1
      This appeal has been referred to a panel of this court pursuant to Rule 9(a), Rules of the Sixth Circuit.  Upon examination of the record and briefs, this panel unanimously agrees that oral argument is not needed.  Fed.R.App.P. 34(a).
    
    
      2
      Upon consideration, we affirm the judgment of the district court for the reasons stated in its memorandum of opinion entered on January 13, 1987.  Rule 9(b)(5), Rules of the Sixth Circuit.
    
    